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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

In re:                                                 §
                                                       §      Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                             §      Chapter 11 (Subchapter V)
                                                       §
         Debtor.                                       §

   ORDER GRANTING EMERGENCY MOTION OF THE LAW OFFICES OF RAY
     BATTAGLIA, PLLC, TO WITHDRAW AS COUNSEL FOR FREE SPEECH
                            SYSTEMS, LLC

         On this day came on for consideration the Emergency Motion of The Law Offices of Ray

Battaglia, PLLC, to Withdraw as Counsel For Free Speech Systems, LLC (the “Motion”) seeking

an Order approving the Withdrawal of The Law Offices of Ray Battaglia, PLLC and its attorneys

from representation of Free Speech Systems, LLC in the above styled chapter 11 case and all

adversary proceedings filed in that case, and it appearing that notice, and service of such Motion

has been made in accordance with the Federal Rules of Bankruptcy Procedure and the Local

Rules promulgated thereunder, and after considering the pleadings of record and the arguments

of counsel; and upon the Court's finding that (i) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b); and

(iii) venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

         1.        The Motion is Granted.

         2.        The Law Offices of Ray Battaglia, PLLC and its attorneys are authorized to withdraw

as counsel for Free Speech Systems, LLC in this bankruptcy case and all adversary proceedings

pending in this bankruptcy case and are relieved of further responsibility in those matters effective

on the date of this Order.
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       3.       This Court shall retain jurisdiction with respect to all matters arising from or related to

the implementation of this Order.


       Dated: March               2024.


                                                   UNITED STATES BANKRUPTCY JUDGE
